      Case 3:20-cv-00029-D Document 1 Filed 01/06/20              Page 1 of 5 PageID 1



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SHMARA PUNCH                                    §
  PLAINTIFF,                                    §
                                                §   CIVIL ACTION NO.
v.                                              §
                                                §   ___________________
CITY OF DESOTO and DESOTO                       §
CHAMBER OF COMMERCE                             §
   DEFENDANTS.                                  §
                                                §


                               JOINT NOTICE OF REMOVAL


TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

        Pursuant to 28 U.S.C. §§ 1441(a), 1441(c), and 1446, Defendants City of DeSoto and

DeSoto Chamber of Commerce (the “Defendants”) files this Joint Notice of Removal, removing

the above-captioned action from the 162nd Judicial District Court of Dallas County, Texas, in

which it is now pending, to the United States District Court for the Northern District of Texas,

Dallas Division. In support of this Joint Notice of Removal, the Defendants state the following:


                                     I. INTRODUCTION

1.      Plaintiff is Shmara Punch. The Defendants are the City of DeSoto and the DeSoto

Chamber of Commerce.

2.      On November 14th, 2019, Plaintiff filed suit against the Defendants in the 162nd Judicial

District Court of Dallas County, Texas under Cause No. DC-19-18317, in a matter styled

Shmara Punch v. City of DeSoto, DeSoto Chamber of Commerce (the “State Court Action”).

3.      This lawsuit entails an employment dispute between the parties, whereby the Plaintiff is

seeking damages stemming from her termination as an employee with the Defendants. Per the


JOINT NOTICE OF REMOVAL                                                                Page 1 of 5
D/1015687v1
      Case 3:20-cv-00029-D Document 1 Filed 01/06/20                 Page 2 of 5 PageID 2



Original Petition filed in the State Court Action, Plaintiff’s causes of action are for (i) violation

of the Texas Whistleblower Act; (2) defamation of character and (3) violation of Plaintiff’s First

Amendment rights. See Exhibit “3” attached hereto.

4.      Defendant City of DeSoto was served with the Plaintiff’s Original Petition on December

4th, 2019 and Defendant DeSoto Chamber of Commerce was served on December 9th, 2019. See

Exhibits “7” and “8”, respectively. Defendants file this Joint Notice of Removal within the 30-

day time period required by 28 U.S.C. § 1446(b)(1).

                                   II. BASIS OF REMOVAL

5.      Generally, a defendant may remove any civil action from state court to federal court if the

action is one over which the federal court possesses original jurisdiction. See 28 U.S.C. §

1441(a) (“Any civil action brought in a State court of which the district courts of the United

States have original jurisdiction, may be removed by the defendant or the defendants, to the

district court of the United States for the district and division embracing the place where such

action is pending.”). When a plaintiff joins in one action claims that are within the federal

district courts' original jurisdiction and claims that are not within the federal district courts'

original jurisdiction, the entire action is removable. See 28 U.S.C. § 1441(c)(1).

6.      In the case at hand, removal is proper because Plaintiff’s cause of action for violation of

her First Amendment rights is a federal-question claim that arises under the Constitution of the

United States. Therefore, this Court has original jurisdiction over this particular cause of action

under. See 28 U.S.C. §§ 1331, 1441(a), (c).

7.      Furthermore, Plaintiff’s remaining causes of action are for violation of the Texas

Whistleblower Act and for Defamation of Character, both of which are state law actions that are

not within this Court’s Original Jurisdiction.      However, because Plaintiff’s suit involves a



JOINT NOTICE OF REMOVAL                                                                   Page 2 of 5
D/1015687v1
       Case 3:20-cv-00029-D Document 1 Filed 01/06/20               Page 3 of 5 PageID 3



federal-question claim along with state law claims, Plaintiff’s entire action can be removed. See

28 U.S.C. § 1441(c)(1).

                           III. SUBJECT MATTER JURISDICTION

8.      Federal question jurisdiction exists in a civil matter when the “claim or right arises under

the Constitution, laws or treaties of the United States.” See 28 U.S.C. §§ 1331. Plaintiff’s

Original Petition alleges, inter alia, that the Defendants violated her First Amendment Rights

under the United States Constitution. Therefore, this Court has subject matter jurisdiction over

this particular cause of action because it is based upon federal question jurisdiction. See 28

U.S.C. §§ 1331, 1441(a).

9.      In addition, because Plaintiff’s remaining causes of action are for violation of the Texas

Whistleblower Act and for Defamation of Character, both of which are state law claims that are

so related to the Plaintiff’s federal claim that is within this Court’s Original Jurisdiction, they

form part of the same case or controversy under Article III of the United States Constitution and,

therefore, this Court has supplemental jurisdiction over Plaintiff’s state law claims under 28

U.S.C. § 1367(a).

                             IV. PROCEDURAL ALLEGATIONS

10.     The Northern District of Texas, Dallas Division, is the federal district and division that

encompasses the 162nd Judicial District Court of Dallas County, Texas.           See 28 U.S.C. §

124(A)(1). This Joint Notice of Removal is filed within 30 days of having been served with

Plaintiff’s Petition or Citation and, therefore, is timely filed under 28 U.S.C. § 1446. Therefore,

removal to this Court is proper under 28 U.S.C. §§ 1441(a) and (b) and 1446.

 11.    Defendants have simultaneously given written notice of the filing of their Notice of

Removal to all adverse parties and will file a copy of the Notice of Removal with the Clerk of



JOINT NOTICE OF REMOVAL                                                                   Page 3 of 5
D/1015687v1
       Case 3:20-cv-00029-D Document 1 Filed 01/06/20               Page 4 of 5 PageID 4



the 162nd Judicial District Court of Dallas County, Texas. See 28 U.S.C. § 1446(d).

 12.      Pursuant to Local Rule 81.1, the following exhibits are attached hereto to this Notice of

Removal:

        Exhibit “1”: Index of all documents filed in the State Court Action;

        Exhibit “2”: Docket Sheet in the State Court Action;

        Exhibit “3”: Copies of all process, pleadings and orders filed in State Court. A filing
         fee in the amount of $400.00 has been paid to the District Clerk.

                                       V. PRAYER FOR RELIEF

         WHEREFORE, Defendants City of DeSoto and DeSoto Chamber of Commerce

respectfully request that this action proceed in this Court as an action properly removed from the

162nd District Court of Dallas County, Texas.

                                              Respectfully submitted,

                                              By: __/s/ R. Douglas Rees____________________
                                                     R. DOUGLAS REES
                                                     State Bar No.: 16700600
                                                     doug.rees@cooperscully.com
                                                      COOPER & SCULLY, P.C.
                                                      900 Jackson, Suite 100
                                                      Dallas, Texas 75202
                                                      (214) 712-9500
                                                      (214) 712-9540 (fax)
                                              ATTORNEY FOR DEFENDANT DESOTO
                                              CHAMBER OF COMMERCE




JOINT NOTICE OF REMOVAL                                                                  Page 4 of 5
D/1015687v1
      Case 3:20-cv-00029-D Document 1 Filed 01/06/20        Page 5 of 5 PageID 5



                                         By:_/s/ Gerald Bright _______________________
                                                GERALD BRIGHT
                                                State Bar No.: 02991720
                                                Gerald.Bright@wblpc.com
                                                DAVID CRAFT
                                                State Bar No.: 00790522
                                                David.Craft@wblpc.com

                                               WALKER BRIGHT P.C.
                                               100 North Central Expressway
                                               Suite 800
                                               Richardson, Texas 75080
                                               (972) 744-0192
                                               (972) 744-0067 (Fax)

                                         ATTORNEYS FOR DEFENDANT CITY OF
                                         DESOTO

                               CERTIFICATE OF SERVICE

      I hereby certify that on the 6th day of January, 2020, a true and correct copy this
document was served on counsel of record via Eservice as follows:

Christine Cane
CANE LAW FIRM LLC
5787 S. Hampton Road
Suite 203
Dallas, Texas 75232
(972) 290.0068
(972) 290-0039 – Fax
ccanelaw@gmail.com

Gerald Bright
David Craft
WALKER BRIGHT P.C.
100 North Central Expressway
Suite 800
Richardson, Texas 75080
(972) 744-0192
(972) 744-0067 (Fax)
Gerald.Bright@wblpc.com
David.Craft@wblpc.com


                                         By: __/s/ R. Douglas Rees____________________
                                               R. DOUGLAS REES


JOINT NOTICE OF REMOVAL                                                         Page 5 of 5
D/1015687v1
